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         SHAWN N ANDERSON
         Acting United Statcs Attomcy
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         CLYDE LEMONS,JR
         Assistant U S Attomcy
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 5
         FAX:(671)472‐ 7334

         Attorneys for the United States of America
 6
                                      ヾTHE     UNITED STATES DISTRICT COURT
 7                                「
                                            FOR THE TERRITORY OF GUAM
 8
         LINITED STATES OF AMERICA,                               CRIMINAL CASE N0 15-00041
 9
                                                      Plaintifl
10
                   VS.
11                                                                DECLARAT10N OF PUBLICAT10N
         JUSTDヾ   ROBERT WHITE CRUZ,
12                                                  Defendant.

13
                In accordance with    2l   U.S.C. g 853(n)(l) and Rule 32.2(b)(6)(C) ofthe Federal Rules           of
14
         Criminal Procedure, notice of the forfeiture was posted on an official govemment intemet site
15
         0uury.fodeilul9.eay) for at least 30 consecutive days, beginning June 20, 2017 and ending on July
16
         19,2017 regarding: One   (l) Glock    27.40 caliber handgun Serial   # WAE950;       One   (I   ) Rock   River
17
         7.62 Nato Lar-8   Rifle Serial # UT103945 with aNikon Scope and biped; one (l) AK47 pistol
18
         Serial Number M92PY042234; and assorted ammunition. (See Attachments             I   and 2.)

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                                                                  SHAWN N.ANDERSON
                                                                  Acting United States Attomey
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                      UN:TED STATES D:STR:CT COURT
                        FOR THE D:STRiCT OF GUAM
            COURT CASE NUMBER:15●0041;NOTiCE OF FORFEITURE
       Notice is hereby given that on December 15,2016,inthe case ofU S v 」ustin
Robert White Cruz,Court Case Number15-00041,the Unted States Distnct cOurtfor
the Distnct Of Guam entered an Order condemning and forfeting the fo‖ owing prope中
to the United States of Amenca:

     Assoned Firearms,VL:Sl,38100(15-DEA‐ 630728),inc!uding the fo‖ owing items:
     l G!ock 27 40 ca‖ ber handgun with 3 each Glock 40 ca‖ ber rnagazines,ser No:
     WAE9501l Rock R市 er 7 62 Nato LAR-8 1le wlh Nlkon scope&biped wlth 2 ea
     762x39 magazines,Ser No:UT103945;l AK 47 Pisto!with l each 7 62x13
     magazine,Ser No:M92PV042234:l Assorted anlmuntion,762x39 VVolf
     ammunlion:40S&W ammunlion:762x13 Agu‖ a ammunlion which was seized
     from」 ustin RobertllVhite Cruz on July 1 7,2015 at 678C Chalan Anonas,located in
     Mal Mai,GU

       The United States hereby gives nOtice ofits intentto dispose ofthe fbrfeited
propeゥ in suCh manner as the Unned States Attorney General may direct Any
persOn,otherthan the defendant(s)in thiS Case,claiming interest in the forfeted
propeny must lle a Petition within 60 days ofthe nrst date Of pub!ication(」
                                                                        une 20,
2017)ofthiS Notice on this ofrcia1 90vernmentinternet web ste,pursuanttO Rule 32 2
ofthe Federai Rules of Criminal Procedure and 21 U S C §853(nxl)The peltlon
must be l!ed wlh the Clerk ofthe Court,4TH FL00R,U S COURTHOuSE,520
WEST SOLEDAD AVENUE,HAGATNA,GU 96910,and a copy served upon Assistant
Unled States Attorney C:yde Lemons,Su!TE 500,SIRENA PLAZA,108 HERNAN
CORTEZ AVENUE,HAGATNA,GU 96910 The petlion sha‖                    be signed by the
petitioner under penalty of perlury and sha‖ setforth the nature and extent ofthe
pelloners nght,ttle or interest in the forfeited prope",the lme and circumstances of
the petitioners acquisition of the right,title and interestin the fOrfeited propeny and any
additionalfacts suppOrting the petitioners claim and the re!ief sought,pursuantto 21
USC§     853(n)

       Fo‖ owing the Court's dispositiOn of a‖ petitions l:ed,orif no such petitions are
n!ed,fO‖ 。wing the expiration ofthe period specined above fbrthe l‖      ng ofsuch
petitions,the United States sha‖  have c!eartitle to the propeny and rnay warrant good
title to any subsequent purchaser or transferee




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          Case 1:15-cr-00041 Document 262 Filed 08/31/17 Page
                                                          …
                                                              2 of 3
                                       Advertisement Certifi cation Report


The Notice of Publication was available on the www.forfeiture.oov web site for at least 18 hours per day
between June 20, 2017 and July 19,2017. Below is a summary report that identifies the uptime for each
day within the publication period and reporls the results ofthe web monitoring system's daily check that
verifies that the advertisement was available each day.

U.S. v. Justin Robert     \Mite Cruz

Cou.t Case        No:           15-00041
For As.set       lD(s):         See Attached Advertisement Copy

    GonSgcutve              Date AdVertisement       :otal Hours we● ヽite            ven,Icatlon that
    Calendar Day             Appeattd on the         was Avai:able du“ ng             Advettsement
       Count                    Web Site                 Calendar Day              existed on Web site
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         2                     06′ 21/2017                  240                          VeHled
         3                     06/22/2017                   240                          Ve1led
         4                     06/23/2017                   240                          veHned
         5                     06/24/2017                   240                          veHned
         6                     06′ 25′   2017               240                          Vettied
         7                     06′ 26/2017                  240                          venied
         8                     06/27/2017                   240                          verined
         9                     06′ 28/2017                  240                          verined
        10                     06/29/2017                   240                          venied
                               06/30/2017                   240                          veried
        12                     07/01/2017                   240                          venled
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        16                     07/05/2017                   240                          verined
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        22                     07/11′ 2017                  240                          venned
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        24                     07/13/2017                   240                          verined
        25                     07/14/2017                   240                          venned
        26                     07/15/2017                   240                          Ve1led
        27                     07/16/2017                   240                          venied
        28                     07/17/2017                   240                          Ve百 1ed
        29                     07/18/2017                   240                          venled
        30                     07′ 19/2017                  240                          venied
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




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